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                                                                                    March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                 X
UNITED STATES OF AMERICA,                                       CONSENT TO PROCEED BY
                                                                VIDEOCONFERENCE
                       -v-
                                                                 (c/ -CR-    33-\--( ( ) ( )
CHRISTIAN NIEVES             ,
AKA ERIC ROSARIO                 Defendant(s).
                                                 X

Defendant CHRISTIAN NIEVES AKA ERIC                     ISI hereby voluntarily consents to
participate in the following proceeding via videoconferencing:

x      Initial Appearance/Appointment of Counsel

       Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
       Indictment Form)

       Preliminary Hearing on Felony Complaint

X
       Bail/Revocation/Detention Hearing

       Status and/or Scheduling Conference

       Misdemeanor Plea/Trial/Sentence




Defendant's Signature                                Defense Counsel's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

 C,(A‘rT   h- C.,. ArdiAle c
Print Defendant's Name                               Print Defense Counsel's Name



This proceeding was conducted by reliable videoconferencing technology.


  11/5/2020
Date                                                 U.S. Magistrate Judge
